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                              EXHIBIT E
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                                                                                November 1, 2012
                                                                                VIA E-MAIL

To:      Anita S. Katz, Commissioner, anita.katz@suffolkcountyny.gov
         Wayne T. Rogers, Commissioner, wayne.rogers@suffolkcountyny.gov
         Suffolk County Board of Elections
         Yaphank Avenue
         Yaphank, NY 11980

RE:      Processing of Voter Registration Applications from the DMV’s Online System


Dear Commissioners Katz and Rogers,

   I am writing because the Brennan Center has received reports that Suffolk County has refused to
process the registrations of Suffolk County voters who have registered to vote via the Department of
Motor Vehicles’ (DMV’s) online registration process, available since August 2012. 1 We write to ask
you to confirm Suffolk County’s policy regarding the processing of online voter registrations.

   If these reports are inaccurate, and Suffolk has indeed processed all valid voter registrations that
have been received, including those from the DMV’s online registration system, please confirm this at
your earliest convenience.

    If, however, these reports are indeed correct, we urge you to take whatever steps necessary to ensure
these voters are properly registered and appear on voter rolls before November 6 th. We believe that
rejections of such voter registrations would run afoul of New York law. In Williams v. Salerno, a
federal appeals court held that all New York county boards of elections must accept any voter
registration application that contains “substantially all of the required information unless the board of
elections finds that the applicant is not entitled to register .”2 The online voter registration system
provided by the New York DMV forwards applications to your office that are, without doubt,
substantially complete.

1
 See Press Release, New York Department of Motor Vehicles, Governor Cuomo Announces Reforms to
Expand Access to Voter Registration (Aug. 16, 2012), available at http://www.dmv.ny.gov/press.htm.
2
    Williams v. Salerno, 792 F.2d 323, 329 (2nd Cir. 1986) (citing N.Y. Elec. Law § 5-210).
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        In addition, the National Voter Registration Act (“NVRA”) requires that each state establish
application procedures allowing individuals to register to vote when applying for a driver’s license with
the state DMV.3 The NVRA requires each state “to ensure” that any eligible applicant who timely
submits a valid voter registration form to the DMV “is registered to vote”4 and provides for a private
right of action in federal district court for individuals not properly registered. 5 Therefore, the right of
Suffolk County registrants to register through the DMV’s existing process is protected by both state and
federal law.

    If the Suffolk County Board of Elections has indeed declined to process the registrations of voters
who used the DMV online system, please confirm any policy in place for handling these registrations or
notifying the voters. We would also appreciate any information you can share as to the date and
specifics of the majority vote of the Commissioners for any such policy, as is required for such action by
the Board.6

    Thank you for your time and attention to this letter. I am available by cell phone and email to
discuss this matter at your earliest convenience; all my contact information is below.

Sincerely,




Lee Rowland, Counsel, Democracy Program
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3
  42 U.S.C. § 1973gg-2(a)(1).
4
  Id. § 1973gg-6(a)(1)(A).
5
  Id. § 1973gg-9(b).
6
  All “actions” of the board of elections, including rejection of any voter registration application, must
be made by a majority vote of the Commissioners. N.Y. Elec. Law § 3-212(2); Williams v. Salerno, 792
F.2d at 329.
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CC:

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